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AILING —
UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF FLORIDA

Cc TALLAHASSEE DIVISION
7d AMENDED COMPIAINT
G9

CIVIL RIGHTS COMPLAINT FORM
TO BE USED BY PRISONERS IN ACTIONS UNDER 42 U.S.C. § 1983

Thomas KR. HAyes

Inmate# D535073
(Enter full name of Plaintiff)

VS. CASE NO: 4#/4-ev-9)-
(To be assigned by Clerk)
Juli€ _L. VONES | Forenel,
Seevetany, el. p/.
CokiZon “Health, Ie. Fopince Heel Ml Craze Peovider
CENTURION OF Foe, Curnent Health Caze Paovider

 

(Enter name and title of each Defendant.
If additional space is required, use the
blank area below and directly to the right.)

ANSWER ALL QUESTIONS ON THE FOLLOWING PAGES:

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I. PLAINTIFF:

State your full name, inmate number (if applicable), and full mailing address in the lines below.

 

Name of Plaintiff: Th AAAS R. Hayes
Inmate Number OOS 3508

Prison or Jail: LAntiiom Lt | Jy d.

Mailing address: p.0. Sof jooo

Raifoed Fl. 220¢3

 

r DEFENDANT(S):

State the name of the Defendant in the first line, official position in the second line, place of
employment in the third line, and mailing address. Do the same for every Defendant:

(1) Defendant'sname: _J elie _L. Jones — Jnelividaal Capacity
Official position: ORME ECIZETA2\
Employed at: Depnel rent of! Coiebecdion'S
Mailing address: SO] 8. Calhoun SH
Tallohassec, F/._ 32393-2500

(2) Defendant'sname: _CORIZoA/ HEALTH Ive - Ocal Capacity /Tnebiviclea
Official position: Former Nerlyh Caze feovider for FOC
Employed at: CORIZEM Heath, Ie
Mailing address: 1864") OlvEe Klvel
Sp. hous, Mis. 63/9] Ivica
(3) Defendant's name: CAT URION OF FLOR) 04 Lhe 7 OMeial Capacity |" wine
Official position: Cerient N&ath Cane Provicler thr Foc
Employed at: CAanfurton OF F; Jor idA, LLG
Mailing address: Preldlock Puck Leot Belg.
3200 800. 39" fue. Bldg. 100, Se ife 70!
Ocala Fla. 34974

 

ATTACH ADDITIONAL PAGES HERE TO NAME ADDITIONAL DEFENDANTS
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Hil. EXHAUSTION OF ADMINISTRATIVE REMEDIES

Exhaustion of administrative remedies is required prior to pursuing a civil rights action
regarding conditions or events in any prison, jail, or detention center. 42 U.S.C. § 1997e(a).
Plaintiff is warned that any claims for which the administrative grievance process was not
completed prior to filing this lawsuit may be subject to dismissal. See pose SA

IV. PREVIOUS LAWSUITS
NOTE: FAILURE TO DISCLOSE ALL PRIOR CIVIL CASES MAY RESULT IN THE DISMISSAL OF THIS

CASE. IF YOU ARE UNSURE OF ANY PRIOR CASES YOU HAVE FILED, THAT FACT MUST BE
DISCLOSED AS WELL.

 

 

 

 

 

A. Have you initiated other actions in state court dealing with the same or similar
facts/issues involved in this action?
Yes( ) No(X“)
1. Parties to previous action:
(a) Plaintiff(s): lA
(b) Defendant(s): N/A
2. Name of judge: N/A Case #: WH
3. County and judicial circuit: NEA
4. Approximate filing date: MA
5. If not still pending, date of dismissal: WA
6. Reason for dismissal: NA
7. Facts and claims of case: NA

 

 

(Attach additional pages as necessary to list state court cases.)

 

 

 

 

B. Have you initiated other actions in federal court dealing with the same or similar
facts/issues involved in this action?
Yes(_ ) No(X’)
1. Parties to previous action:
a. Plaintiff(s): N LA
b. Defendant(s): N. lA
2. District and judicial division: nila
3. Name of judge: NIA Case #: ie
4. Approximate filing date: MA
5. If not still pending, date of dismissal: WL
6. Reason for dismissal: wie

 
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Ill. EXHAUSTION OF ADMINISTRATIVE REMEDIES

Plaintiff has exhausted all available administrative remedies pursuant to 42
U.S.C. §1997(e) regarding denial / refusal of treatment, because of a “custom and
practice” employed by Julie L. Jones and both contracted Healthcare Providers,
Corizon Health, Inc. and Centurion of Florida.

Plaintiff took an additional step because Defendant Corizon Health Inc., was
not able to address and reply to the FDC grievance process. Corizon Health had
ended their contract in August of 2016. Plaintiff had written a Notice of Intent
outlining his grievance with Corizon and forwarded it to former Woodrow Myers
Jr. on October 30, 2018. Plaintiff attempted to negotiate a potential settlement
agreement.

This notice was forward on to the Toomey Law Firm, in Ft. Myers, Florida.
However, after several letters back and forth, including Plaintiffs signed consent
for his medical records, Mr. Toomey seemed to be dragging this process out and
had not attempted to obtain Plaintiff's records in over a month after having the
signed consent.

Plaintiff has attached his formal and Appeal grievances exhausting the
FDC’s Administrative Remedies as well as the Notice of Intent to Corizon and

accompany relevant letters.

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7. Facts and claims of case: Nie

 

(Attach additional pages as necessary to list other federal court cases.)

C. Have you initiated other actions (besides those listed above in Questions (A) and
(B)) in either state or federal court that relate to the fact or manner of your
incarceration (including habeas corpus petitions) or the conditions of your
confinement (including civil rights complaints about any aspect of prison life,
whether it be general circumstances or a particular episode, and whether it involved
excessive force or some other wrong)?

Yes(X ) No( )

If YES, describe each action in the space provided below. If more than one action, describe
all additional cases on a separate piece of paper, using the same format as below.

 

 

 

 

 

 

1. Parties to previous action:
a. _ Plaintiff(s): Thoms Rk. Hayes
b. Defendant(s): Sécnelay LF. Uc
2. District and judicial division: Bezel toil Conan hy -C [@eu it
3. Name of judge: Geen Case#! 7
4, Approximate filing date: 1980
5. If not still pending, date of dismissal: iG§i
6. Reason for dismissal: £45 leans teened = became aa pooh iSSYE-
7. Facts and claims of case: L tetlG Cond tptons5 :

 

(Attach additional pages as necessary to list cases.)

 

 

 

 

D. Have you ever had any actions in federal court dismissed as frivolous, malicious,
failing to state a claim, or prior to service? If so, identify each and every case so
dismissed:

Yes( ) No(X’)
4. Parties to previous action:

a. Plaintiff(s): yl

b. Defendant(s): n/a
2. District and judicial division: we
3. Name of judge: Nie Case Docket # we
4, Approximate filing date: MA Dismissal date: uff
5. Reason for dismissal: Mp

 
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6. Facts and claims of case: nlp

 

(Attach additional pages as necessary to list cases.)

V. STATEMENT OF FACTS:

State briefly the FACTS of this case. Describe how each Defendant was involved and what each person did
or did not do which gives rise to your claim. In describing what happened, state the names of persons
involved, dates, and places. Do not make any legal arguments or cite to any cases or statutes. You must set
forth separate factual allegations in separately numbered paragraphs. You may make copies of this page if
necessary to supply all the facts. Barring extraordinary circumstances, no more than five (5) additional pages
should be attached. (If there are facts which are not related to this same basic incident or issue, they

must be addressed in a separate civil rights complaint.)

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V. STATEMENT OF FACTS

1. Plaintiff is currently incarcerated at Union Correctional Institution (herein
after referred to as U.C.I. ) and at all times relevant hereto is under the care,
custody, and control of the Florida Department of Correction, (herein referred to as
(FDC). Plaintiff is currently (64) sixty-four years of age and has been continually
incarcerated in the FDC since June of 1976.

2. Plaintiff was originally diagnosed with Chronic Hepatitis C, (herein after
referred to as (CHCV) by a FDC doctor (Dr. Astacio) in or around October, 2001.
He advised Plaintiff that he would be placed on a “Chronic Illness Clinic” herein
after referred to as (C.I.C.) on at least a biannual review and monitoring of
Plaintiff's (CHCV). He also informed Plaintiff that this current medical grade
(one), would be change to a (two), due to this diagnosis.

3. The monitoring process (within the C.I.C. Review) basically consisted of
taking blood samples biannually and sent off for evaluation of various bio-marks.
Once the blood testing was completed by an outside lab and the printed report
returned to the institution. Plaintiff would be placed on a medical call-out and seen
by a clinician. Usually a ten minutes process, some times asking a question or two
and reveal the lab results if requested, finished up by stating see you in six months.

4. In December of 2001, Dr. Astacio had Plaintiff sign an authorization for
both a specialty evaluation and a biopsy. However, Plaintiff was transferred on
4/30/02 and never received either specialty evaluation or biopsy.

5. The Centers for Disease Control (CDC) in May of 2017 stated:

“Researchers estimate that about 2.7 million to 3.9 million people in
the United States have Chronic Hepatitis C. Many people who have hepatitis C
don’t have symptoms and don’t know they have this infection. About 75% of U.S.
Adults who have Hepatitis C are baby boomers, born between 1945 and 1965.”

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6. The principal consequence of (CHCV) infection is infection of the liver,
which causes inflammation that in turn may result in scarring of the liver (fibrosis).
Liver scarring can significantly impair liver function and damage its crucial Pole in
filtering toxins from the blood as well as making proteins involved in liver clotting
and fighting infections. Liver scarring places (CHCV) patients at risk of liver and /
or liver cancer.

7. The extent of liver scarring doesn’t necessarily correlate with the
symptoms one is suffering. An individual can be completely “Asymptomatic” and
present with cirrhosis. Nor do symptoms have anything to do with what the risk of
liver failure.

8. This District Court and the 11 Circuit have previously concurred, that
(cHCV) presents a serious medical need, from a legal aspect.

9. On October 15, 2012, Corizon had signed a five year contract with the
FDC, to provide Comprehensive Healthcare Services to inmates in Regions I and II
and several other institutions within Region III of the FDC. U.C.L. is in Region II,
where Plaintiff has resided since June, 2013.

10. Plaintiff arrived at his current institution, Union Correctional, (herein
after referred to as (U.C.I.) in June of 2013. At that time, the for profit Health Care
Provider was Corizon Health, Inc. (herein after referred to as Corzion).

11. Plaintiff contends that Corizon’s policy and decision makers unofficially
adopted a “custom and practice” of refusing to authorize the cost of treatment of
Plaintiff's serious medical need (cHCV). This “custom and practice’ was
widespread covering all institutions under contract with Corizon, and employed
throughout the duration of Corizon’s contract.

12. Corizon through it’s “custom and practice” (cost savings and profits)
was the moving force behind Corizon’s deliberate indifference, that directly

resulted in Plaintiff's (CHCV) to progress to an advance stage of liver damage.

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Corizon’s refusal to fund treatment of (CHCV) inmates was the standard 99.99% of
the time, out of the several thousand (CHCV) inmates under Corizon’s contracted
care.

13. This Court had previously acknowledged that only (10) ten (CHCV)
inmates, throughout the entire FDC had been treated with the revolutionary drugs
(Direct-acting antivirals) prior to the Hoffer mandate rendered in December of
2017. Plaintiff is unaware at this point the actual breakdown of which (Healthcare
Provider) treated those (10) ten (CHCV) inmates and who provided that funding for
those treatments.

14. Dr. Aviles, a (Corizon employee) had submitted a consultation for
specialty evaluation. The doctor had noted a previously request for biopsy that had
never been performed. This coupled with Plaintiff's current exhibited physical
symptoms. However, this request was denied by (Utilization Management).
Corizon by contract was responsible for the cost for all such off-site specialty
evaluation.

15. In late 2013 a new class of drugs known as (Directing-acting Antivirals)
referred to as (DAA’s) was approved by the (FDA) and was released on the market
in 2014. These (DAA’s) was the new revolutionary cure for (CHCV) and almost
completely successful when used, with little or no side affects.

Corizon is a National Healthcare Provider, who previously and presently
operates and is contracted to provide healthcare services for numerous prison
systems across this country. Corizon was well aware of both the recognized
national standard of care and those associated cost required to provide minimum
constitutionally adequate medical care and treatment for (CHCV) inmates.

17. Corizon was well aware through the huge multimillion dollar contract
signed with the third largest prison system in the country, through their prior

assessment of those prospective medical files, the significant number of diagnosed

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(cHCV) inmates who would require proper evaluation and treatment by the
recognized national standard of care.

18. Under Corizon’s contract with FDC, there were two ways that doctors
could obtain drugs needed for the inmates under Corizon’s care. Most drugs were
listed on an FDC-approved list, referred to as a formulary. Those drugs were paid
directly by F.D.C. Drugs not listed on the formulary, had to be specially requested.
These Direct-acting antivirals (DAA’s) were not on the FDC’s formulary while
Corizon was under contract. Specialty requested drugs were paid by Corizon, such
drugs required a “Drug Exception Request.” (D.E.R.).

19. Plaintiff had been submitted for treatment of his (CHCV) three times by
Corizon’s own hired medical personnel. April of 2015, July of 2015 and January of
2016. All three request were rejected by Corizon because of their “custom and
practice” of refusal to authorized the cost of treatment for (CHCV) inmates.
Plaintiff had been re-submitted for another biopsy in February of 2016, it too was
rejected. Although this “custom and practice” was not formally approved by a
decision maker, the act was so widespread as to have the force of a written policy,
throughout all institutions under Corizon’s Healthcare. This “custom and practice”
was the moving force behind the constitutional violation of; refusal of treatment to
(cHCV) for non-medical reasons, cost.

20. Corizon had no reliable medical justification to support these three
denials of Plaintiff’s treatment. This treatment was medically necessary to treat and
cure this deadly virus. In contrast, Corizon offered no alternate treatment. Corizon
was relied to simply continue to monitor, via C.I.C. Reviews, which were relied on
to submit these previous recommendations for treatment. These actins are
comparable to a gun-shot victim, where the medical personnel would take vitals
and change the bandages, but the company or Provider refused to authorize the

cost of the surgery to remove the bullet, knowing the future consequences.

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21. This “custom and practice” of Corizon’s, refusal to authorize cost for
treating (CHCV) inmates was not isolated in the FDC. Corizon had a similar
contract with St. Lucie County Jail, in South Florida. Curry v. Corizon, 2017 U.S.
Dist. 41502. Curry a pretrial detainee was in St. Lucie County Jail from 2010
through 2014. Corizon had contracted with the County for Healthcare Services
during this time. Curry was diagnosed with (CHCV) in the County Jail. He was
initially informed the disease (CHCV) was in its early stages and didn’t require
treatment. However, in 2013 a liver biopsy had determined that Curry’s (CHCV)
had progress to “advance stage: “’ liver disease. A Corizon specialist, Dr. Kennedy
treating Curry, allegedly stated he would try to persuade Corizon to cover the cost
for treatment. However, Dr. Kennedy later informed Curry he was not able to
convince Corizon to approve the cost of treatment, ©  ___ because it was to
expensive.

22. The Curry situation occurred prior to Plaintiff's recommendations for
treatment. They (Corizon’s) policy and decision makers were aware that Curry’s
situation was confirmed by biopsy ordered through their Specialist yet, the
specialist request for treatment was denied, solely for non-medical reasons, cost
only. There can be no doubt, that not only was there a “custom and practice” of
refusal to authorize funding for (CHCV) treatment, but that Corizon’s decision had
nothing to do with medical facts or considerations.

23. Because of Corizon’s “custom and practice” of refusal to authorize
funding for treatment of (CHCV) individuals under their contracted care, Plaintiff's
disease was knowingly allowed to progress to “severe fibrosis.” Plaintiff was
subjected to wanton and unnecessary pain and suffering for additional two and a
half years before Court ordered treatment.

24. It is Plaintiff's contention that additional harm was further done by
knowingly allowing the (CHCV) to progress. On top of the advanced stage of

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damage done to the liver by the disease, but because of it Plaintiffis now subjected
to a life-time of monitoring his severe damaged liver, biannually to check for
potential liver cancer and other liver related issues. Plaintiff to this day suffers a
daily constant dull ache in the liver area that has been documented, after successful
treatment.

25. It is Plaintiff's contention that Corizon’s “custom and practice” of
refusing to authorize funding for treatment for non-medical reasons, was of
deliberately indifferent to Plaintiff's serious medical needs. Knowingly violated
Plaintiff’s constitutional rights, their contractual obligation and ignored the widely
published medical data and strong recommendations from renowned medical
entities, such as (AASLD) the (CDC) against deferral of treatment of (CHCV)
individuals. Plaintiff's medical file is repleted with evidence of escalation of
(cCHCV) and undeniable liver damage, coupled with three separate
recommendations for treatment all rejected because of this “custom and practice”
of costing savings and corporate profits.

26. Defendant Julie L. Jones, former Secretary of FDC, began that position
in January 5, 2015, appointed by former Governor Rick Scott. Defendant Jones
served until January of 2019.

27. Plaintiff contends, that as the FDC’s Secretary, defendant Jones was
ultimately responsible for the custody and care of all inmates within the FDC, as
well as responsible for all FDC’s polices and practices per State statutes.

28. This Court in Hoffer v. Jones, preliminary hearing had stated: “Plaintiff's
have shown that Defendant has been deliberately indifferent to the class’s serious
medical needs.” Plaintiff was a member of that class. This Court went on to state:
“Specifically, this Court finds that FDC will not treat. infected inmates in an
appropriate and timely manner.”

29. Plaintiff contends that Defendant Jones, for the next three years

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proceeding her appointment as FDC’s Secretary, exhibited deliberate indifference
towards Plaintiff’s and all other (CHCV)’s serious medical needs of treatment for
(cHCV), despite the numerous warning signs throughout that period.

30. Defendant Jones was put on Notice by multi-avenues of a systemic
widespread medical problem (cHCV) throughout the FDC and failed to take
appropriate action to properly address and resolve said problem. All rooted in
concerns of cost. This fact was established by this Court in both the preliminary
and permanent injunctions issued by this Court and essentially admitted by
Defendant.

31. In 2015, Thomas Reimers, defendant Jones’s Director of Health Services
Administration had submitted a legislative budget proposal for 6.5 million to
purchase these (Direct-acting antivirals). This proposal was in response to (CHCV)
inmates not being treated and some actually dying because of failure to do so.

32. Director Reimers had specifically pointed out in the problem statement
area that;

“The Department has no funding to provide treatment
to inmates with Hepatitis C who meet current national
treatment criteria.”

He went on to state:

‘Inmates with Hep C are at a very high risk for developing
Cirrhosis and liver cancer if left untreated.”

33. It is Plaintiff’s contention that this 2015 proposed budget request was
denied because of the adopted “custom and practice” of refusal to fund treatment
for (CHCV) inmates by defendant Jones.

34. In 2016, Director Reimers had submitted a second legislative budget
proposal for 29 million to purchase these necessary medication (DAA’s) for

(cHCV) inmate treatment. Again stating there is still no specific funding to provide

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treatment for now 500 inmates who meet current national treatment criteria.

35. This second request also informed defendant Jones, that a federal court
in Western District of Washington (B.E. v. Teeter, 16-CV-00227) had ordered the
State to provide (CHCV) treatment under Medicaid using the new protocols
without regards to fibrosis. Florida’s Agency for ‘Health Care Administration
changed it’s policy to reflect this recent Federal Court’s decision. However, despite
these medical and legal ramifications pointed out within this second budget
proposal, it was denied to move on to the legislators, because of defendant Jones
embrace of the “custom and practice” of no funding (CHCV) treatment.

36. In June of 2016, Defendant Jones had revised FDC’s (HSB) #15.03.09,
Supplement #3. There are two relevant aspects of this revision that were revealed.

A. Defendant Jones now recognizes (two years after they
became available on the market) that these (DAA’s) were
not only nationally recognized as the standard of care
for treating (CHCV) inmates but are necessary to provide

the “cure” of this deadly disease.

B. Defendant Jones did not blindly authorize the FDC’s (HCV)
Revision of June 2016. Defendant Jones consulted with a
variety of sources, like Director Reimers previous submitted
legislative budget proposal, pointing out the risk of failing
to treat eligible inmates and the potential risk of litigation
against the FDC.

37. However, despite the Revision of the FDC’s Hepatitis policy, it was only
a paper change or lip service. There was no funding for these now recognized
(DAA’s) by the FDC. In fact, Director Reimer submitted his second legislative
budget proposal for funding of the DAA’s again. Director Reimer pointed out the

following facts:

A. The Department has no specified funding to provide
treatment to inmates with Hep C who meet current
national treatment criteria.

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B. Inmates with (CHCV) are at very high risk for de-
veloping cirrhosis and liver cancer if left untreated.

C. The Department estimates that approximately (500)
inmates are at highest risk and “in need” of this new
medication.

D. That FDC had recently revised it’s (Health Services
Bulletin 15.03.09, Supplement #3, to reflect the F.B.
O.P. (HCV) policy.

E. The recent federal case of B.E. v. Teeter, (Case No: 16-
CV-00227) from the Western District of Washington.

38. It is Plaintiff's contention, that Defendant Jones was continually put on
“Notice” throughout her first three years as FDC’s head supervisor, of this
widespread abuse, of no funding for treatment of (CHCV) inmates was obvious,
flagrant and rampant. The above stated facts, coupled with that fact (CHCV)
inmates were dying from failure to treat and their contracted Healthcare Providers
were in breach of contract for either refusing to fund the cost of treatment or even
submit (CHCV) inmates for treatment, support a strong inference that Defendant
Jones either directed her subordinators, agents to act unlawfully, or knew that the
subordinates, agents would continue to act unlawfully and failed to stop them from
doing so.

39. It is Plaintiff's contention that defendant Jones is the one person who
was in a position to bring about change within her first year in office. Had she done
so, it would have saved many lives from pain, suffering, and even death for some.
However, Defendant Jones made an informed choice of not allowing two
legislative budget proposals to go to the Florida Legislators to decide the submitted
facts. She took no legal action to hold Corizon legally responsible for breech of

contract to paid for this treatment. She took no actions throughout Centurion’s first

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(18) months to inquire why none of the previous (CHCV) inmates who were being
denied treatment, were now not even being submitted at all.

AQ. Defendant Jones revised policy of June, 2016 (15.03.09, Supplement #3)
was facially unconstitutional, because of the known and obvious consequences of
blocking all attempts to fund it properly were deliberate, whether at political
direction or otherwise. Defendant Jones was the single individual who knew the
scope of the system wide medical problem and the authority to bring the necessary
change, but deliberately refused to do so.

41. Centurion of Florida, herein after referred to as (Centurion) entered into
a contract (#C2869) with the FDC in 2016, to provide comprehensive health care
services that were to meet constitutional and community standards. U.C.I. where
Plaintiff resides is one of those institutions under Centurion’s contracted care.

A2. It is Plaintiff's contention that Centurion had adopted an unofficial
“custom and practice” by their “policy” decision makers of refusal to recommend /
or treat (#4) inmates by their medical personnel under their contracted care which
was all rooted in concerns of cost / funding. It is important to make a clear
distinction between, monitoring care versus actual treatment, administering
medication to cure the disease.

43. This “custom and practice” was well established throughout all
institutions under Centurion’s contracted care. It was so well settled and persistent
with it’s widespread practice, that it’s institutional medical personnel would not
recommend specialty evaluation, (such as biopsies or fibro-scans) let alone actual
treatment 99.99% of the time of all (CHCV) inmates under Centurion’s care. This
Court had verified this fact by the following quote from the Hoffer v. Jones,
preliminary hearing:

“FDC began a new contract with Centurion. But the
Change in contractor did not come with a change in

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Behavior; inmates with HCV were still not being
treated.”

44. Centurion was aware of the following relevant facts:

45, In October of 2016 Plaintiff was having his first (C.IL.C.) CHCV Review
by Centurion personnel. Dr. Perez-Lugo, the Chief Health Officer on site, Dr.
Perez-Lugo was familiar with Plaintiff's medical condition as he had not only
reviewed Plaintiff's (CHCV) in the past while employed under Corizon, he had
previously submitted Plaintiff for treatment back in July, 2015. He had also

A. That there were several thousand (CHCV) inmates
under their contracted care.

B. That (CHVC) was a serious medical need that if left
“untreated” can and does lead to pain, suffering,
irreparable liver injury and even death.

C. That (EHCV) inmates in the FDC had died from (CHCV)
from failure to treat them.

D. They were aware that FDC had recently (June of 2016)
had revised (HSB) 15.03.09, Supplement #3, recognizing
that treatment with (DAA’s) was the new standard of
treatment for (CHVC) inmates.

E. Centurion knew or should have known that denying med-
ical treatment for non-medical reasons (cost) was a consti-
tutional violation.

F. Doctor Dewsnup employed by Centurion at the time, was
intimately familiar with HCV treatment. Dr. Dewsnup stated
in testimony at the Preliminary Hearing, that he encouraged
all (Centurion) doctors working with FDC to refer-infected
inmates for DAA treatment.

submitted a request for a biopsy in February of 2016, both were denied by U.M.

46. Prior to the October 17, 2016 (C.1.C.) Review, Plaintiff had the usual

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blood drawn for the lab report. This review by the outside lab, revealed that
Plaintiff's ALT’s at 166 and AST’s at 143. The clinical report on specimen ID:
942011053, showed (8) clinical abnormalities. These bio-markers were at their
highest levels recorded in Plaintiff’s medical records since the original 2001
diagnoses. In fact, when Dr. Perez-Lugo had previously recommended treatment in
July of 2015, the levels were not this high. Yet, because of Centurion’s “custom
and practice” Dr. Perez-Lugo would not recommend any actions be taken.

When Plaintiff pressed Dr. Perez-Lugo on this, he exclaimed my hands are
tied, they (Centurion) will not allow me to recommend any further action be taken.
He refused any further discussion on the matter and excused Plaintiff from his
office.

47. This was not an isolated incident, but in fact the norm for all (CHCV)
inmates at U.C.I. and apparently throughout all Centurion institutions. 99.99% of
(cHCV) inmates were not being recommended, let alone being treated. After this
Court granted the preliminary injunction in Hoffer v. Jones, a large group of
(cHCV) inmates were having blood samples drawn for evaluation of the severity
stage of each individual for staging priority of treatment.

48. Plaintiff's lab report showed his score was a .93, in a range between .75
& 1 for “severe fibrosis” with a .72 for severe activity. This report is dated
November 2017, Plaintiff was informed on March 5, 2018. Plaintiff was informed
by Dr. Perez-Lugo that he was identified as a “Priority Level One” for treatment
and would start on March 9, 2018.

49, This was the first time since 2001 that Plaintiff had ever been informed
of his actual stage of severity of the disease. Without this Court’s invention,
Plaintiff would probably still be in the blind as to the actual medical state of his
liver’s condition. Plaintiff contends that FDC, Corizon and Centurion had

maintained “plausible deniability” by previously rejecting biopsies, specialty

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reviews or fibrosure blood test.

50. It is Plaintiffs contention that Centurion was complicit with FDC and
acted with deliberate indifference to the serious medical needs of Plaintiff and
others in adopting and implementing this “custom and practice” of no
recommendations for treating (CHVC) inmates, all rooted in non-medical reasons,
cost and funding.

51. After the Court ordered staging, approximately (80) (CHVC) inmates at
U.C.I. alone were identified as “Priority Level One” for treatment. These men were
also subjected to the same “custom and practice” of (no recommendations for
treatment) of (CHCV). Plaintiff is unaware of the exact number statewide, but it
was very significant and blatantly obvious that those who should have been
submitted for treatment were deliberately being ignored.

52. Plaintiff contends that this “custom and practice” was adopted and
carried out by Centurion’s decision makers, that their medical personnel on the
contracted sites would not recommend treatment for (CHCV) inmates in order to
shield FDC and their lack of appropriated funds, non-medical reasons. This
“custom and practice” denied Plaintiff of adequate medical care by constitutional
standards. Defendant Centurion ignored the medical necessity of an adequate
evaluation of Plaintiff's serious medical needs. The failure to provide such
required care condemned Plaintiff and also other (CHCV) inmates to unnecessary
further pain, suffering and to some even death. Centurion’s essentially total lack of
recommendations for (CHCV) treatment, eliminated pressure on FDC to obtain the
necessary funding to properly address this urgent medical need, thes their

complicity.

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VI. STATEMENT OF CLAIMS
COUNT ONE

Deliberate Indifference to Serious Medical Needs

53. Plaintiff incorporates statements of facts, paragraphs #10 through #25
that Defendant “Corizon” (1) A Private entity acting under contract with FDC and
under color of state law, violated Plaintiff's 8" and 14" Amendment rights to be
free from cruel and unusual punishment by being deliberately indifferent to
Plaintiffs serious medical needs. The Defendant Corizon had adopted a “custom
and practice” that intentionally refuse to authorize funding for treatment of
Plaintiff's (CHCV), causing irreversible liver damage which subjected Plaintiff to a
life-time of monitoring his liver for potential future liver cancer and other liver

related issues for non-medical reasons, cost of treatment.

COUNT TWO
Deliberate Indifference to Serious Medical Need/
Failure to Adequately Supervise To Provide Adequate Medical Care.

54. Plaintiff incorporates statements of facts, paragraphs #26 through #40.
Defendant Jones (2) acting under authority and color of state law, violated
Plaintiff's 8" and 14 Amendment rights to be free from cruel and unusual
punishment by being deliberate indifferent to his serious medical needs. Defendant
Jones adopted and / or embraced a “custom and practice” of no funding for
treatment of (CHCV) Plaintiff and others.

55. Plaintiff incorporates statement of facts, paragraphs #26 through #40.
Defendant Jones (2) acting under authority and color of state law, violated
Plaintiff's 8" and 14" Amendment rights, by failing to adequately supervise FDC

employee and agents of Centurion to ensure adequate medical evaluations and

6A
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 21 of 47

medical treatment of (cHCV) Plaintiff and others.
1). In their official capacity.
2). In her individual capacity.

COUNT THREE

Deliberate Indifference To Serious Medical Needs

56. Plaintiff incorporates statement of facts, paragraphs #41 through #52.
Defendant “Centurion” (1) A private entity acting under contract with FDC and
under color of state law, violated Plaintiffs 8" and 14" Amendment rights to be
free from cruel and unusual punishment by being deliberately indifferent to
Plaintiff's serious medical needs. Defendant Centurion adopted a “custom and
practice” of (no recommendations for treatment of (CHCV) inmates), in order to
shield FDC’s lack of appropriated funds, thereby denying Plaintiff of
constitutionally adequate medical evaluation of his serious medical need.
Defendant’s failure to provide adequate evaluations had lead to continued pain,
suffering and subjected Plaintiff to a life-time of monitoring his liver for potential
liver cancer in the future, due to the extensive / irreversible damage to Plaintiff's

liver.

VII. RELIEF REQUESTED
57. Demand for a jury trial / bench trial.

58. Plaintiff seeks compensatory damages in the amount of $50,000.00
dollars from each Defendant jointly and severally for great physical pain
and suffering.

59, Plaintiff seeks punitive damages in the amount of $100,000.00 dollars

from all Defendants jointly and severally for intentionally, wanton and
total disregard for human life by inflicting not only pain, suffering, and

64&
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 22 of 47

mental anguish, but subjecting Plaintiff to a life-time of monitoring of
Plaintiff’s liver for potential future liver cancer because of the éxtensive/
irreversible liver damage that could and should have been timely treated
with available medication, but ignored this risk to save money.

60. Plaintiff seeks attorney fees, whether pro bono or privately acquired by
Plaintiff during this litigation and all cost and expenses brought on by

this litigation.

61. The cost and expenses for expert testimony, travel, documents, and any
other of expense connected to such expert witness on behalf of Plaintiff.

62. All Court cost, fees and other expenses incurred by Plaintiff to bring
forth this litigation.

63. Any other relief this Court decides is just.

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Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 23 of 47

Vi. STATEMENT OF CLAIMS:

State what rights under the Constitution, laws, or treaties of the United States you claim have been violated.
Be specific. Number each separate claim and relate it to the facts alleged in Section V. If claims are not
related to the same basic incident or issue, they must be addressed in a separate civil rights

complaint.
See pages 6A 766

 

 

 

 

 

 

 

Vil. RELIEF REQUESTED:
State briefly what relief you seek from the Court. Do not make legal arguments or cite to cases/ statutes.

KE pes 68 # 6C
YO

 

 

 

| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING STATEMENTS OF FACT,
INCLUDING ALL CONTINUATION PAGES, ARE TRUE AND CORRECT.

dj g0a0 Shenae Ke Nay.
(Date) (Signature of Pidintiff)

IF MAILED BY PRISONER:

| declare (or certify, verify, or affirm) under penalty of perjury that this complaint was (check one):

delivered to prison officials for mailing or 0 deposited in the prison's internal mail system on:
the _{/?"__ day of fe Ruste 20.22.

(Signature of Plaiftif)

 

Revised 03/07
 

 

 

Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 24 of 47

APPENDIX
OF
EXHIBITS

Exhaustion Documents

by date order

with C3) pnges
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PART B - RESPONSE

 

HAYES, THOMAS 053503 1803-213-119 UNION C.I, A11021
NAME NUMBER — FORMAL GRIEVANCE CURRENT INMATE LOCATION HOUSING LOCATION
LOG NUMBER

 

Log #1803-213-119

THIS DOCUMENT MAY CONTAIN CONFIDENTIAL HEALTH RECORD/CARE INFORMATION INTENDED FOR THE
ADDRESSEE ONLY. UNAUTHORIZED RELEASE OR DISCLOSURE MAY VIOLATE STATE AND FEDERAL LAW.

Your request for Administrative Remedy or Appeal has been reviewed and evaluated.

Reviewed records indicate that you currently being followed by the clinician in Clinic for this issue. There is no indication
that you have been denied medical care or access to medical. Should you have questions or concerns about your
current treatment plan, Sick-Call is available so that you may present your concerns to your current health care team.

Based on the above information, your grievance is denied.

You may obtain further administrative review of your complaint by obtaining Form DC1-303, Request for Administrative
Remedy or Appeal, completing the form, and providing attachments as required by Chapter 33-103 and forwarding your
appeal to the Bureau of Inmate Grievance Appeals, 501 South Calhoun St., Tallahassee, Florida, 32399-2500, within

15 calendar days of this mailed response.

E. Perez, CHO T. Knox, Agsistant Warden
Al os

 

 

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SIGNATUREAND TRPED OR PRINTED NAME OF SIGNATURE OF WARDEN, ASST. DATE
WARDEN, OR SECRETARY'S

EMPLOYEE RESPONDING
REPRESENTATIVE

 

 

 

| MAILED

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UCI GRIEVANCE OFFICE

 

 
 

 

Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 26 of 47

4

FLORIDA DEPARTMENT OF CORRECTIONS
REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL

["_] Third Party Grievance Alleging Sexual Abuse

TO: Xt Warden [_] Assistant Warden [_] Secretary, Florida Department of Corrections
From or IF Alleging Sexual Abuse, on the behalf of:

 

 

 

Hayes , Theat rR . CS3S0% Lbuout ~ fd. her?
La&t ’ First Middle Initial DC Number Institution

 

Part A— Inmate Grievance

 

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Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 27 of 47

 

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REQUEST FOR ADMINISTRATIVE REMEDY_OR APPEAL
OR ¥

[| Third Party Grievance Alleging Sexual Abuse R19 2618
TO: [_] Warden [-] Assistant Warden Bd Secretary, Florida Departme nD CRATER aK GAS sale

From or IF Alleging Sexual Abuse, on the behalf of:
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Hayes Thoras
Last First Middle Initial DC Number | Institution
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Part A Inmate Grievance LD Ke f& x4 4

 

 

 

 

 

 

 

 

 

 

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STATE OF FLORIDA
DEPARTMENT OF CORRECTIONS
INTEROFFICE MEMORANDUM

DATE: June 5, 2018 lod

TO:

I/M Hayes,Thomas DC# 053503

INSTITUTION: Union CI

FROM: Bureau of Inmate Appeals

RE:

CORRESPONDENCE

 

1) Your administrative appeal was received, reviewed and recently answered. You should soon

receive a copy, if you haven’t already.

2) Your administrative appeal has been received in our office and is still under investigation. As soon
as our investigation is complete, you will receive an answer. Appeal #18-6-16849 was forwarded to
Health Services in Central Office for their review and/or response,

3) Your administrative appeal has not been received in this office.

4) Departmental Rule 33-103.007, Appeal to the Secretary, states, "attachments are considered a part of

the grievance and will not be returned to the Inmate, except in those cases where the Inmate submits
sufficient copies of the attachments at the time the grievance appeal is filed". In reviewing your file,
I find that you did not provide sufficient copies of the documents required.

5) There is no provisions in the Inmate Grievance Procedure for you to appeal a decision already rendered
by this office.
6)____- The grievance procedure requires that you: 1) use proper forms when initiating a grievance, and 2)

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that you initiate your grievance at the appropriate level of the procedure as outlined in Chapter 33-
103, subsections .005 informal grievance; .006 formal grievance—institution or facility; and .007
appeals to the Office of the Secretary. Your communication to this office is returned to you for reason
1 or 2 or both as applicable. You may re-initiate your complaint following proper procedures. You
must be within the appropriate time frame for your appeal to be accepted.

1) The grievance procedure or the appeals office is not to be used for correspondence purposes. 2) The

act of asking questions or seeking information, guidance or assistance is not considered to be a
grievance. 3) You cannot use the grievance procedure to complain about issues not under the control
of the Department. Refer to Chapter 33-103.001.

8) When (re)submitting an appeal, you must write that appeal on a new/unused DC1-303 form, attach

all pertinent forms and continuation sheets to include the formal grievance and file within the
appropriate time frame.

NOTE: Your correspondence was forwarded to this office for review and response. Furthermore, if
you fear staff, you need to file an informal to the Colonel. The Colonel should have the opportunity to

address these issues regarding staff at the institution. When making allegations of staff misconduct,
provide all pertinent information such as names, dates, times, places and specific details. If you fear
another inmate, contact the shift officer in charge for immediate action. If you feel you need medical
attention, contact the institutional medical department via the sick call/emergency process. Each

grievance/appeal should address only one issue. Seek assistance from the library or a staff member for

a better understanding of the grievance process.

__W. Millette
Correctional Services Assistant Consultant
Case-4:19 cy 0PQ97-MW-EMT Document 102 Filed 02/13/20 Page 29 of 47
WITH AGENCY CLERK

JUL 20 2018

Leparimem oi Corrections
| Bureau of Inmate Grievance Appeals |

PART B - RESPONSE

 

HAYES, THOMAS“ "053503 18-6-16849 UNION C.l. A11021
NAME NUMBER GRIEVANCE LOG CURRENT INMATE LOCATION HOUSING LOCATION
NUMBER

 

Appeal Denied:

Your request for administrative remedy was received at this office and it was carefully evaluated. Records available to
this office were also reviewed.

It is the responsibility of your health care staff to determine the appropriate treatment regimen for the condition you are
experiencing.

It is determined that the response made to you by Dr. Perez on 4/5/2018 appropriately addresses the issues you
presented.

Records provided to this office reveal that you are currently being treated for the medical concern you are grieving.
Please be advised that you cannot use the grievance process for monetary gain and/or tort claims.
Should you experience problems, sick call is available so that you may present your concerns to your health care staff.

CONFIDENTIAL HEALTH RECORD/CARE INFORMATION INTENDED FOR ADDRESSEE(S) ONLY.
UNAUTHORIZED RELEASE OR DISCLOSURE MAY VIOLATE STATE AND FEDERAL LAW.

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SIGNATURE Mpehatht TYPED OR #RINTED NAME OF SIGNATURE OF WARDEN, ASST.
EMPLOYEE D ORF NDING WARDEN, OR SECRETARY'S

REPRESENTATIVE

Michelle Schouest, IISC

 

 

 
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 30 of 47

RECIEVED
UNION CORRECTIONAL INSTITUTION

Woodrow A. Myers, Jr.
Chief Operating Officer
103 Powell Ct.
Brentwood, TN 37027

 

October 30, 2018
Re: Notice of Intent

Dear Mr. Myers:

This letter of intent serves a twofold purpose. 1). to give you and your company Corizon an
opportunity to address and possibly resolve the following issues. 2). In the event it is not resolved, you
are given notice that legal proceeding will have to ensue.

Your company Corizon had a substantial contract with the State of Florida, via the Florida
Department of Corrections, which ended in August of 2016. Union Correctional was one of the
Institutions that your company provided medical care for, it was in region |! of Florida.

| arrived at Union Correctional on June of 2013. | had been diagnosed with (HCV) since 2001 and
had been on a Chronic Illness Clinic (C.1.C.) since.

On 9/20/2013, while conducting a review of my (HVC), Dr. Aviles had submitted a request for
special evaluation, noting on the document that a biopsy had previously been requested, but never
performed. The evaluation was denied by U.M. (utilization management) and signed by Dr. R. La Fontant
indicating, reliance on enzymes levels.

On 4-29-2015, 7-27-2015 and 1-25-2016, | was submitted for treatment of my (HVC) at each of
these (C.I.C.) reviews by your medical staff, only to be refused for non-medical reasons, (utilization
management) without the benefit of a review by a specialist. (1 purchased a copy of each of these
medical records recently, from the medical department at .15 a page)

The contract at the time between the State of Florida and Corizon contained the following

proviso re chronic diseases:
“Intervention for inmates with chronic diseases

Must meet general recognized standard of case.”
Page 8 para 2

Dr. Hood, working for Corizon in July 2015, gave a deposition where he explained that Corizon is
a “full risk” health care provider. Corizon assesses the inmate population and creates a budget. Then for
a pre-agreed contract price, Corizon employs all medical staff in the facility and covers the cost of
medication, off-site referrals and hospitalization. (See Davidson v. Corizon, Case No. 6:11-cv-03929-MHH

out of Alabama)

Page |1
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 31 of 47

It is my contention that Corizon, yourself and other management officials who were within the
Florida region I! and your utilization management personnel, through the unofficial custom and practice
(that was the moving force behind) of refusing specialist evaluation and rejecting submitted
recommendations for treatment on three separate times.

As a direct result of this unofficial custom and practice to save cost/profits, | not only suffered
unnecessary pain, both physical and mental, but my (HCV) disease progress to “ severe fibrosis “ as
confirmed by a fibro-test administer in November of 2017, which was F.D.A. approved since 2009 and
had been available to your company.

Thanks to the case of Hoffer v. Jones, were the federal court granted a preliminary injunction,
treatment was provided. Although | am currently a sustain responder to the treatment, which was
available the entire three years | was under your company’s care. | am now at a considerable lifetime
_ tisk of (two to five) time’s higher rate of developing liver cancer in the future. Because the disease was
allowed to progress to severe fibrosis and not treated under your medical care. | still continue to have
pain and discomfort because of the damaged caused to the liver and allowed to progress to an advance
liver damage, because of your company’s refusal to treat. The treatment received, removed the virus
from the body, it did not repair the damaged caused by the disease.

It is my contention that because of this unofficial custom and practice of (no off-site evaluation
and no-treatment) policy of Corizon, yourself and the various management personnel within this region
ll, were knowingly deliberately indifferent to my serious medical need and as a result, violated my
constitutional right to be free from cruel and unusual punishment, all for the sake of profits.

Your company had not treated but a couple of (HVC) inmates with (DAA’s) out of several
thousand under your care. This fact was confirmed by the federal court in the case of Hoffer v Jones.
| also have numerous (Declarations) from men who experienced mirrored circumstance of their (HCV)
reviews and refusal of treatment, within the same time frame here and the same medical personnel.

Although you cannot turn the clock back and correct this problem, you have an opportunity here
and now to somewhat compensate for these horrific actions.

if, you or your legal department have not responded with any negotiation of an adequate
settlement within (30) thirty days from the stamp date on this letter, from the institutional mail room
personnel, | will deem this as a denial and have no choice but to proceed to federal court for adequate

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Thomas R. Hayes home Roe.

Union Correctional Institution
P.O. Box 1000
Raiford, FI. 32083

compensation.

pc: personal copy

Page | 2
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 32 of 47

cK a THE TOOMEY LAW FIRM

Oe eh Pty > The Old Robb & Stucky Building

Ors NJ 1625 Hendry St., Suite 203, Ft. Myers, Florida 33901

<Q? )} Telephone: 239, 337, 1630 / Facsimile: 239. 337.0307
www.thetoomeylawfirm.com

Reply to: gat@thetoomeylawfirm.com
Direct Line: 239.337.0103
November 7, 2018

Thomas R. Hayes, #053503
Union Correctional Institution
PO Box 1000

Raiford, FL 32083

Re: October 30, 2018 Notice of Intent

Dear Mr. Hayes:

This office represents Corizon Health, Inc. I am in receipt of notice letter you recently
sent to my client. To evaluate this case, I will need a copy of your Florida Department of
Corrections medical records. Please complete and sign the enclosed release and mail it back to

me in the enclosed envelope.

Gregg 4. Toomey

GAT/hms
Enclosures
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 33 of 47

RECE Ve:
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The Toomey Law Firm N | TUTION
Gregg A. Toomey, OV / 6 Anes

1625 Henry St., Suite 203 BY:

Ft. Myers, Florida. 33901

  
 

November 16, 2018

Dear Mr. Toomey

!am in receipt of your letter dated November 7, 2018 in reference to the notice of
intent sent to your client (Corizon Health) on October 30, 2018.

| also understand your position to want to review my entire medical record. However, |
do not feel it is in my best interest to allow your firm, a potential adversary in court, full access
to these files at this time. If we cannot come to agreement on an adequate compensation for
the deliberate indifference of my serious medical needs by your client, this matter
unfortunately will have to proceed to the Northern District Court, Tallahassee division, under 28

U.S.C 1983 suit.

I’m sure you are aware that this is the same division where the Judge M. Walker, in
Hoffer v. Jones who granted the preliminary injunction, that started the treatment for

thousands of (HCV) inmates within the Florida Department of Corrections. The FDC is still
paying a hefty price (millions) for this treatment.

After reading this (5) five day hearing, in part the judge made it clear, that both your
client and Wexford Health, had both failed to provide the recognized standard of care for (HCV)
inmates. In fact, some inmates had even died due to failure to treat!

| am specifically aware of the case of Saleem v. Corizon, where the Middle District Court,
Jacksonville division and appointed Harrell & Harrell as attorney of record. That case was
settled by your client several months back. His (Saleem’s) medical situation was almost a mirror
case as mine. The same time frame as my situation, with the same personnel involved here at
U.C.I. under your client’s care. However, he failed to do his research as | have and discovered a

very important aspect of this situation.

Because of this deliberate indifference to my serious medical need and failure to treat
me accordingly to the nationally recognized standard of care, with the available known cure (
direct-acting antivirals ) not only did | experience the unnecessary pain and suffering, but
because of your client’s refusal to timely treat me, rejecting their own medical personnel’s

 
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 34 of 47

recommendations to do so on three separate occasions, this conduct allowed the disease to
progress to “severe fibrosis” and now subjects me to a life time risk of (2 to 5)times higher of
developing liver cancer in the future. This is a medical fact published by the HCV-Guidance and
the C.D.C. and widely known nationally in the medical community, including your client from
2014 to date. Your client had failed to treat 99.9% of all (HCV) inmates under their care,
because of their unofficial custom, practice to save cost/profits.

To specifically address our situation, | have enclosed copies of some of my medical
records, which in fact substantiate my medical contentions. After reviewing these documents
and reading the Hoffer v. Jones case and the Saleem v. Corizon case, I’m hopeful that your
client would consider offering a fair compensation, so it will not be necessary to proceed to
court and ask for both compensatory and punitive damages, in what I see as a very viable claim
on numerous personnel with your client’s company.

Again, if | do not hear from your firm by the end of this month, | will deem this as a
denial and have no choice but to proceed on to legal remedies.

SLhmea i Urges.

Zt
Thomas R. Hayes wosasy,
Union Correctional Institution
P.O. Box 1000 - A-1102-1
Raiford, FI. 32083

Pc: enclosures

 

 

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5 of 47
MT Document 102 Filed 02/13/20 Page 3
Case 4:19-cv-0009 7-MIW-E

STATE OF FLORIDA
PARTMENT OF CoR
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Reason(s) fo; consultation:
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Other: pertinent information: «

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Provisional diagnosis:

 

 

 

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Date:

 

Date: .
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FLORIDA DEPARTMENT OF CORRECT: 3
CHRONIC ILLNESS CLINIC

    
  

  
 

     

  
 
     
  

 

Clinics: Respiratory EndocrineCVj Cardiovascular Tuberculosis Immuni Neurology (Gastrointestinal _) Oncolog
INSTITUTION: Li Mf DATE: L: (J

 

 

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Current Medications & Dosage:

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ASSESSMENT:
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CHRONIC ILLNESS EDUCATION

 

 

 

 

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, ___. ENDOCRINE ~~ NEUROLOGY

’ MISC. ~~ GASTROINTESTINAL
Other: —- ONGOLOGY ~~ KIDNEY .
Health Classification Grade reviewed: mM.) Follow-up visits: 3

 

 

 

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Inmate Name

 

 

DC# Race/Sex_ WM)
Date of Birth fU-Alp
Institution Uy

DC4-701F (Revised 3/8/13) 7
This form is not to be amended, revised, or altered without approval of the Director of Health Services Administration.
Case 4:19-cv-00097-NQACEMT Document 102 Filed 02/1 3lg0 Page 37 of 47 |

FLORIDA DEPARTMENT OF CORRECTIONS :
CHRONIC ILLNESS CLINIC

Endocrine Miscellaneous Cardiovascular Tuberculosis Immunity Neurology

   

 
 

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Gastrointestinal

 
  

     
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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SUBJECTIVE: Chief complaint: Current Medications & Dosage:
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Jealth Classification Grade reviewed: Follow-up visits:

 

 

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Hayes, Thomas —— Kobe kent
DCH 053503 —_——— ‘ J. IRVIN, LPN AY
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This form is not to be amended, revised, or altered without approval of thé Director of Health Services Administration.
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13420 Page 38 of 47

” BLORIDA DEPARTMENT OF CORRECTIONS
CHRONIC ILLNESS CLINIC

Endocrine Miscellaneous Cardiovascular Tuberculps

    
     
   

 

 

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DC4-701F (Revised 3/8/13)

This form is not to be amended, revised, or altered without approval of the Director of Health Services Administration.
Case 4:19-cv-00097,MW-EMT Document 102 Filed 02/1220 Page 39 of 47
mo ee FLORIDA DEPARTMENT OF CORRECTIONS

 

 

 

 

 

. CHRONIC ILLNESS CLINIC
Clinics: Respiratory Endocrine Miscellaneous Cardiovascular Tuberculosis. Immunity Neurolog Oncology
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INSTITUTION UCd DATE:_|_/c0.)/1L6 TIME START pC time stor vr
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Health Classification Grade reviewed:_of __Follow-up visits: aitatt rf —=
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Case 4:19-cv-00097-MW-EMT Document 102 Filed Oar! 20 Page 40 of 47

” BioReference
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PEREZ, ELLIOT

Specimen ID: 942953693
Date Of Report: 11/36/2017 13:55

HAYES, THOMAS
DOB: 92/04/1956 Age: 61 Y Sex: M

     
 

F7317 - UNION CORRECTIONAL U/FL: Bed: Date Collected: 11/28/2017 09:29
INSTITUTION - Rm: Date Received: 11/28/2017 23:55
7819 NW 228TH ST, Patient ID 653503

RAIFORD, FL 32026
Acct #: (F7317)
P: (386)431-4166

 
 
 

Address: 7819 NW 228TH ST,
RAIFORD, FL 32026

PATIENT

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CLINICAL REPORT

Clinical Abnormalities .Summary.

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| Melbourne, FL 32901 | (800) 229-5227

‘Site Medical Director

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James Weisberger M.D. page 1 of 2
Laboratory Director printed 12/01/2017 07:33

RinRaferance lahnratories is a Florida Clinical Laboratory
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 41 of 47

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THE TOOMEY LAW FIRM

Ay: yi] 10)
is nS The Old Robb & Stucky Building
cs 4S 1625 Hendry St., Suite 203, Ft. Myers, Florida 33901

x Telephone: 239.337.1630 / Facsimile: 239.337.0307
www.thetoomeylawfirm.com

Reply to: gat@thetoomeylawfirm.com
Direct Line: 239.337.0103
November 27, 2018

Thomas R. Hayes, #053503
Union Correctional Institution
PO Box 1000

Raiford, FL. 32083

Re: October 30, 2018 Notice of Intent

Dear Mr. Hayes:

I am in receipt of your recent response to my request that you sign a release for your
medical records. You declined and suggested that the case should be settled. That cannot happen

without, your medical records being in my possession.

Gregg A| Toomey
GAT/hms
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 42 of 47

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UNION CORRECTIONAL INSTITUTION

 
 
  
    

Mr. Gregg A. Toomey, Esq. DEC 20
The Toomey Law Firm <h
1@25 Henry St., Suite 203 BY: oR SAILING
Ft. Myers, Fl. 33091
December we, 2018

Re: Letter from November 27, 2018

Dear Mr. Toomey,

First, | would like to thank you for your timely response in consideration of the
time frame mentioned. | have signed and enclosed the medical release form you
requested. However, there could be a few potential pit-falls you are not aware of.

a) Centurion is the current health care provider. | don’t know if authorizing Florida
Department of Corrections on the form will be sufficient for Centurion personnel to
release the requested records;

b) Unless you specify what records, like only (HCV) related. | have over forty ;
years of medical records. As | initially stated in the original letter dated 10-30-2018, |
had been diagnosed since 2001;

c) | was under your client’s care here at U.C.I., from June of 2013 till they left in
the summer of 2016.

You probably will have to call or e-mail the medical records supervisor here and
discuss the best way to get what you feel is necessary for your evaluation. | might
recommend asking her to scan the records on her computer and then attach those
records to an e-mail and forward to your office.

With that said, my medical contentions are legitimate. As you will see, the
previous six (6) medical documents were authentic. The postage for all the records that
| have would be costly for me. I’m sure you have to do it your way.

Your client and their personnel had a well-established custom and practice of no-
proper evaluation and no-treatment policy, contrary to the nationally recognized
standard of care. I’m sure you are well aware of the class action case of Hoffer v.

Jones, out of the Northern District, Tallahassee.

My contention is, your client is not only responsible for the unnecessary pain and
suffering | endured for those three years, with a known cure available when the
disease was progressively getting worse in that three year period. They knew the great

 

1|Page
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 43 of 47

risk involved by not administering treatment. This was a systematic wide custom and
practice, affecting over 99.99% of all (HCV) inmates under your client’s care. | still suffer
this pain periodically, because your client allowed it to progress to this advance stage.
(severe fibrosis, which you already have the lab report) Your client’s utilization
management personnel rejected repeated submitted request for treatment by their own
hired medical personnel, for non-medical reasons (cost). Without the benefit of an
evaluation by a specialist, which they also previously denied.

Because of your client’s actions or inactions, | am now at a considerable life-time
risk of having liver cancer, (2 to 5) time’s greater. | may need a liver transplant in the
future! God | hope not. What are the chances an inmate would receive one. Who would
foot this bill? Who is responsible for this occurring? These medical issues could easily
come about as verified by medical experts in the medical resource material widely
available. Not to mention, that the nationally recognized agencies that strongly
recommended against deferral of treatment at any stage of fibrosis.

This is a serious medical situation. | sincerely hope that your evaluation will take
in all these factors into consideration, when and if your client makes an appropriate
settlement offer. | also hope the offer will not minimize the seriousness of this situation
and this evaluation, will not be an act of futility. Otherwise, | will have no other recourse
but to proceed with the §1983 complaint already prepared to file in federal court in
Tallahassee. The F.D.O.C. are also defendants in this suit as their Central Office is
located in Tallahassee, for jurisdictional correctness.

In closing as you can see, | specified the time frame on the consent to 1/30/2019.

Sincerely,

Vawmar. mm ge

Thomas R. Hayes#053503
Union Correctional Institution
P.O. Box 1000 — A1102-1
Raiford, Fl. 32083

pc: personal file
Attachments

 

2|Page
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 44 of 47

FLORIDA DEPARTMENT OF CORRECTIONS
CONSENT AND AUTHORIZATION FOR USE AND DISCLOSURE INSPECTION AND RELEASE
OF CONFIDENTIAL INFORMATION
1, _ Thomas R. Hayes authorize __ Florida Department of Corrections
(Name, organization or general designation of program making disclosure)

todiscloseto _ The Toomey Law Firm, 1625 Hendry Street, Suite 203, Fort Myers, FL 33901

(Name of person(s) or organization(s) and address to which disclosure is to be made)
Purpose of disclosure authorized herein:

The undersigned hereby authorizes the inspection and release of copies of my medical records indicated below by the above-named health
care facility/medical record custodian only to the above-named entity(ies) or persons or their agents. Indicate all of the records authorized
to be inspected/released by initialing in the appropriate box(es) below:

INITIAL BELOW

FOR RELEASE OF
INFORMATION

 

 

 

of A. Release of all medical records except: any information relating to HIV testing, AIDS and AIDS-related
a syndromes; psychiatric and psychological information; or alcohol and substance abuse treatment information
/ . ’ related to my condition, care, and confinement (initial box).

 

-f B. Release of any records regarding HIV testing, AIDS and AIDS-related syndromes relating to my condition,
FT. f i ; care, and confinement (initial box). '

C. Release of any records of psychiatric and psychological information (mental health records) other than
psychotherapy notes relating to my conditions, care, and confinement (initial box).

 

 

D. Release of all dental records relating to my condition, care and confinement (initial box).

 

E. Release of any records regarding alcohol and substance abuse treatment relating to my. condition, care, and
confinement. I understand that my records are protected under the federal regulations governing
Confidentiality of Alcohol and Drug Abuse Patient Records, 42 C.F.R. Subchapter A, Part 2, and cannot be
disclosed without my written consent unless otherwise provided for in the regulations. As to release of
alcohol/substance abuse treatment records, please state the specific information to be released as provided by
42 C.F.R., Subchapter A, Part 2 (initial box):

 

 

 

 

Name of infonnation - dates of treatment/programs, etc., if possible

NOTE: IF PSYCHOTHERAPY OR SUBSTANCE ABUSE PROGRESS NOTES ARE THE SUBJECT
OF THE RELEASE, OTHER RECORDS CANNOT BE THE SUBJECT OF THE SAME
AUTHORIZATION. RELEASE OF PSYCHOTHERAPY OR SUBSTANCE ABUSE PROGRESS
NOTES IN ADDITION TO THE RECORDS SPECIFIED ABOVE WILL REQUIRE A SEPARATE
AUTHORIZATION (SEE BELOW).

I understand that I may refuse to sign this authorization and my refusal to sign will not affect my access to health care treatment,
eligibility for benefits or enrollment, or payment for or coverage of services. I also understand that once my protected health
information is disclosed pursuant to this authorization, it may be used and/or redisclosed by the recipient unless the recipient is
covered by law which prohibits or limits its use and/or disclosure.

I understand that I may revoke this consent and authorization at any time, provided the revocation is in writing, except to the extent that
action has been taken in reliance on it, and that in any event, this consent and authorization shall be effective for 90 days unless I specify a

 

different expiration as follows: — AwyAeY Zp Qo/4
(Specificatjgh of the date, event, Or condition upon which this consent expires if less than six months or greater than 90 days)

In furtherance of this authorization, I (we) do hereby waive all provisions of law and privileges relating to the disclosures hereby
authorized, I acknowledge the extent of my authorization of release as to the records and information denoted in paragraphs A, B, C, D

and E by ppp the no q) above.
A Momer (kK. Kloten JI-b-16

SIGNATURE OF PATIENT (Guardian or Stteg fifo Representative, when required) Date
AUTHORIZATION FOR RELEASE OF PSYCHOTHERAPHY OR SUBSTANCE ABUSE PROGRESS NOTES

 

I, authorize

 

(Name, organization or general designation of program making disclosure)

to disclose to

 

(Name of person(s) or organization(s) and address to which disclosure is to be made) .

DC4-711B (English) (Revised 11/27/07) Incorporated by Reference in Rule 33-601.901, F.A.C.
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FLORIDA DEPARTMENT OF CORRECTIONS
CONSENT AND AUTHORIZATION FOR USE AND DISCLOSURE INSPECTION AND RELEASE
OF CONFIDENTIAL INFORMATION

Purpose of disclosure authorized herein:

 

The undersigned hereby authorizes the inspection and release of copies of my psychotherapy progress notes and/or my substance abuse
progress notes as indicated below by the above-named health care facility/medical record custodian only to the above-named entity(ies) or
persons or their agents. Indicate all of the records authorized to be inspected/released by initialing in the appropriate box(es) below:

 

INITIAL BELOW
FOR RELEASE OF
INFORMATION

 

A. Release psychotherapy progress notes (initial box):

 

B. Release substance abuse progress notes (initial box):

 

 

 

 

Name of information -- dates of treatment/programs, etc., if possible

I understand that I may refuse to sign this authorization and my refusal to sign will not affect my access to health care treatment,
eligibility for benefits or enrollment, or payment for or coverage of services. I also understand that once my protected health
information is disclosed pursuant to this authorization, it may be used and/or redisclosed by the recipient unless the recipient is
covered by law which prohibits or limits its use and/or disclosure.

I understand that I may revoke this consent and authorization at any time, provided the revocation is in writing, except to the extent that
action has been taken in reliance on it, and that in any event, this consent and authorization shall be effective for 90 days unless I specify a

different expiration as follows:

 

(Specification of the date, event, or condition upon which this consent expires if less than six months or greater than 90 days)

In furtherance of this authorization, I (we) do hereby waive all provisions of law and privileges relating to the disclosures hereby
authorized. I acknowledge the extent of my authorization of release as to the records and information denoted in paragraphs A and B
initialing the appropriate box(es) above.

 

SIGNATURE OF PATIENT (or Next of Kin, Guardian or Authorized Representative, when required) Date

 

COMPLETE NOTARY PORTION ONLY WHEN REQUEST IS NOT FROM CURRENT INMATE/OFFENDER PERSONALLY KNOWN
TO WITNESS OR IS FROM SOURCE EXTERNAL TO DEPARTMENT

 

 

 

 

 

 

STATE OF
COUNTY OF
Swom to (or affirmed) and subscribed before me this day of , 20 '
by who is personally known to me or who has produced
as identification.
Notary Public Signature
Print, type, or stamp commissioned name of Notary Public
My Commission Expires: SEAL

ACKNOWLEDGEMENT OF RECEIPT OF COPY OF SIGNED AUTHORIZATION(S)

 

 

 

 

 

Inmate/Offender Name [homas R. Hayes Witness Name
pc# 053503 Witness Signature
R/S Date:

Date of Birth 02/04/1956

SS#

Institution/Office

 

DC4-711B (English) (Revised 11/27/07) Incorporated by Reference in Rule 33-601.901, F.A.C,
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 46 of 47

 

 

 

 

 

 

 

 

 

 

 

STATE OF FLORIDA
DEPARTMENT OF CORRECTIONS Mail Number:
INMATE REQUEST Team Number:
Institution:
P15, Tenk ins
TO: () Warden [1] Classification [ Medical CO
(Check One) (] Asst. Warden (1) Security (1 Mental Health (0
FROM: Inmate Name DC WN.ymber | Quarters Job Assignment | Date _
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REQUEST

Check here if this is an informal grievance

  

   

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informal grievances will be

Inmate (S : . DCH ¢

 

DO NOT WRITE BELOW THIS LINE

RESPONSE DATE RECEI EB LLG

 

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|The to only:
Based your grievance is Denied, or Approved). If your informal grievance is

you have the right to submit a grievance in accordance with Chapter 33-103.006,

Official Name): Official : Date:

Original: Inmate (plus one
CC: Retained by official or if the response is to an informal grievance then forward to be placed in inmate’s file
This form is also used to file informal grievances in accordance with Rule 33-103.005, Florida Administrative Code.

Informal Grievances and Inmate Requests will be responded to within 15 days, following receipt by staff.

You may obtain further administrative review of your complaint by obtaining form DC1-303, Request for Administrative Remedy or Appeal, completing the form as
required by Rule 33-103.006, F.A.C., attaching a copy of your informal grievance and response, and forwarding your complaint to the warden or assistant warden no
later than 15 days after the grievance is responded to. If the 15th day falls on a weekend or holiday, the due date shall be the next regular work day.

DC6-236 (Effective 11/18)
Incorporated by Reference in Rule 33-103.005, F.A.C.
Case 4:19-cv-00097-MW-EMT Document 102 Filed 02/13/20 Page 47 of 47

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